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                     IN THE UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF ARKANSAS
                               CENTRAL DIVISION


LORI EVANS                                                                    PLAINTIFF


vs.                                 No. 4:19-cv-801-JM


REMINGTON ARMS COMPANY, LLC.                                                DEFENDANT


                             JOINT RULE 26(f) REPORT


      COME NOW Plaintiff Lori Evans and Defendant Remington Arms Company, LLC,

by and through their respective undersigned counsel, and submit the following information

in compliance with Federal Rule of Civil Procedure 26(f) and Local Rule 26.1.

1.    Any changes in timing, form, or requirements of initial disclosures under Fed. R.
      Civ. P. 26(a).

      The parties agree to produce and deliver paper or electronic copies of any
      documents identified in their Initial Disclosures without a formal discovery request,
      though the parties recognize that they may be unable to produce all such
      documents on the day Initial Disclosures are due. The parties agree that any
      documents identified but not produced are subject to the parties’ obligation to
      supplement their discovery disclosures under the Federal Rules of Civil Procedure.

2.    Date when initial disclosures were or will be made.

      On or before April 6, 2020.

3.    Subjects on which discovery may be needed.

      •      All of the elements of Plaintiff’s claims and Defendant’s defenses to those
             claims;
      •      Issues related to willfulness / intent; and
      •      Damages.



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4.   Whether any party will likely be requested to disclose or produce information from
     electronic or computer-based media. If so:

     (a)     whether disclosure or production will be limited to data reasonably available
             to the parties in the ordinary course of business;

             The parties anticipate that disclosure or production will be limited to data
             reasonably available to the parties in the ordinary course of business.

     (b)     the anticipated scope, cost and time required for disclosure or production of
             data beyond what is reasonably available to the parties in the ordinary
             course of business;

             Unknown at this time.

     (c)     the format and media agreed to the parties for the production of such data
             as well as agreed procedures for such production;

             The parties will produce data in electronic format. If the data is ordinarily
             maintained in paper format, the parties agree to produce the data in
             electronic format in consecutively paginated bates numbers. The parties
             agree to produce ESI in electronic format such as PDF, except for
             spreadsheets, which should be produced in native format such as XLS.

     (d)     whether reasonable measures have been taken to preserve potentially
             discoverable data from alteration or destruction in the ordinary course of
             business or otherwise;

             The parties have been made aware of the need to maintain the relevant
             record taken in the ordinary course of business.

     (e)     other problems which the parties anticipate may arise in connection with
             electronic or computer-based discovery.

             None known at this time.

5.   Date by which discovery should be completed.

     September 15, 2020.

6.   Any needed changes in limitations imposed by the Federal Rules of Civil
     Procedure.
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      The parties consent to the electronic service of all documents that require service
      on an opposing party, including but not limited to Initial Disclosures,
      Interrogatories, Requests for Production of Documents, Requests for Admissions,
      and Notices of Deposition, as well as Responses to Interrogatories, Requests for
      Production of Documents, and Requests for Admission, at the primary e-mail
      address at which each attorney of record receives ECF filings in this case. The
      parties agree that discovery may be signed by e-signature rather than by hand.
      The parties agree to produce and deliver paper or electronic copies of any
      documents which would ordinarily be produced subject to Federal Rules of Civil
      Procedure 26 or 34.

7.    Any Orders, e.g. protective orders, which should be entered.

      None at this time.

8.    Any objections to initial disclosures on the ground that mandatory disclosures are
      not appropriate in the circumstances of the action.

      None at this time.

9.    Any objections to the proposed trial date.

      None at this time.

10.   Proposed deadline for joining other parties and amending the pleadings.

      June 3, 2020.

11.   Proposed deadline for completing discovery.

      September 15, 2020.

12.   Proposed deadline for filing motions other than motions for class certification.

      October 15, 2020, except for motions in limine, which should be filed no later than
      14 days before trial.

13.   Class certification: In the case of a class action complaint, the proposed deadline
      for the parties to file a motion for class certification.

      N/A.


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                                              Respectfully submitted,

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